211 F.2d 580
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.CROWN DRUG COMPANY.
    No. 15022.
    United States Court of Appeals Eighth Circuit.
    March 18, 1954.
    
      Petition for Enforcement of Order of National Labor Relations Board.
      David P. Findling, Associate General Counsel, National Labor Relations Board, and A. Norman Somers, Asst. Gen. Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement and stipulation filed with Board.
    
    